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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )         4:04CR3008-1
                                             )
             Plaintiff,                      )
                                             )
      vs.                                    )
                                             )         ORDER
CHRISTIAN P. FIROZ,                          )
                                             )
             Defendant.                      )

        IT IS ORDERED that the plaintiff’s objection to appearance of counsel and notice of
conflict of interest of defense attorney (filing 103) will be taken up at the defendant’s
revocation hearing on February 8, 2007, at 12:00 noon before the undersigned United States
district judge.

      February 6, 2007.                          BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
